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                                                                                                    IN THE UNITED STATES DISTRICT COURT
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                                                                         9                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                      10
                                                      11                     UNITED STATES OF AMERICA,                         No. CR 00-00274 CRB
United States District Court




                                                      12                                   Plaintiff,                          MEMO RANDUM AND ORDER
                                                      13                       v.
                               For the Northern District of California




                                                      14                     YACOV YIDA,
                                                      15                                   Defendant.
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                                                      17                            On April 13, 2006, the jury trial of defendant Yacov Yida concluded when the Court
                                                      18                     declared a mistrial after the jury reached an impasse. The Government immediately advised
                                                      19                     the parties that Yida would be re-tried. At a status conference on April 26, 2006, the Court
                                                      20                     set the re-trial for July 24, 2006, which was then advanced to July 17, 2006, to accommodate
                                                      21                     scheduling concerns. A pretrial conference occurred on July 6, 2006, at which time the Court
                                                      22                     held oral argument on the Government’s Motion to Admit at Trial Former Testimony of
                                                      23                     Unavailable Witness pursuant to Federal Rule of Evidence 804(b)(1). The Court ordered
                                                      24                     supplemental briefing and held an additional oral argument on July 13, 2006. After carefully
                                                      25                     considering the parties’ thorough arguments, the Court hereby DENIES the Government’s
                                                      26                     motion.
                                                      27                                                           BACKGROUND
                                                      28                            According to the Government’s Motion, David Reziniano is a native and citizen of
                                                                             Israel. On April 22, 2004, he pled guilty to conspiring to import and distribute MDMA in the
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                                                                         1   Central District of California. He received a sentence of 63 months, which he completed on
                                                                         2   November 29, 2005. Reziniano was released into the custody of the Department of
                                                                         3   Homeland Security for deportation proceedings, which he did not contest because he wished
                                                                         4   to return to Israel. On December 7, 2005, an immigration judge ordered his deportation. The
                                                                         5   following day, the Government obtained a material witness warrant for Reziniano because he
                                                                         6   was to testify against Yida at his upcoming trial. Pursuant to the warrant, Reziniano was
                                                                         7   required to remain in federal custody. At that time, according to the Government, Reziniano
                                                                         8   “made clear that, now that he had finished serving his prison sentence, he felt that he should
                                                                         9   be allowed to return to Israel and resume his life there.” M ot. at 2.
                                                      10                            Reziniano remained in federal custody for nearly five months leading up to
                                                      11                     defendant’s trial, which commenced on April 3, 2006. During that time, Reziniano spent
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                                                      12                     some time in solitary confinement in order to accommodate his medical and religious dietary
                                                      13                     requirements and to prevent him from intermingling with other inmates involved in the trial.
                               For the Northern District of California




                                                      14                     On April 4, 2006, Reziniano testified during defendant’s trial. After the mistrial, Reziniano’s
                                                      15                     lawyer, Randy Sue Pollock, contacted the Government in an attempt to resume her client’s
                                                      16                     deportation proceedings. After receiving assurances from both Reziniano and Pollock that
                                                      17                     he would return for the re-trial, and after promising to pay for all of his expenses associated
                                                      18                     with his return to San Francisco for the trial, the Government released Reziniano from
                                                      19                     custody and allowed him to be deported to Israel. Neither defense counsel nor the Court was
                                                      20                     advised of his deportation. Now, despite the efforts of Pollock, Reziniano’s former counsel
                                                      21                     Michael Stepanian, Special Agent Catherine Miller, and Assistant United States Attorney
                                                      22                     Dana Wagner, Reziniano has refused to return to testify in defendant’s re-trial. The
                                                      23                     Government now seeks to admit Reziniano’s testimony from the original trial pursuant to
                                                      24                     hearsay exceptions under Federal Rule of Evidence 804.
                                                      25                                                         LEGAL STANDARD
                                                      26                            Reziniano’s former testimony, which qualifies as hearsay, is only admissible if a
                                                      27                     hearsay exception applies. Federal Rule of Evidence 804 enumerates hearsay exceptions
                                                      28                     where the declarant is unavailable. Rule 804(a) identifies five situations in which a declarant


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                                                                         1   may be “unavailabl[e] as a witness.” Rule 804(a)(5), which is the only subsection applicable
                                                                         2   here,1 defines unavailability to include a situation in which the declarant “is absent from the
                                                                         3   hearing and the proponent of a statement has been unable to procure the declarant’s
                                                                         4   attendance ... by process or other reasonable means.” If a declarant is unavailable under
                                                                         5   804(a), Rule 804(b)(1) permits “[t]estimony given as a witness at another hearing of the same
                                                                         6   or a different proceeding, ... if the party against whom the testimony is now offered ... had an
                                                                         7   opportunity and similar motive to develop the testimony by direct, cross, or redirect
                                                                         8   examination.”
                                                                         9          The question presented here also implicates defendant’s Sixth Amendment rights
                                                      10                     under the Confrontation Clause. The Supreme Court has held that where, as here, testimonial
                                                      11                     evidence is at issue, “the Sixth Amendment requires what the common law required:
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                                                      12                     unavailability and a prior opportunity for cross-examination.” Crawford v. Washington, 541
                                                      13                     U.S. 36, 68 (2004). Notably, Crawford negated the importance and relevance of any “indicia
                               For the Northern District of California




                                                      14                     of reliability” of the hearsay testimony. See id. at 61; see also Ohio v. Roberts, 448 U.S. 56,
                                                      15                     66 (1980). There is no dispute here as to whether the testimony the United States seeks to
                                                      16                     admit benefitted from cross-examination by defendant in a nearly identical proceeding.2 The
                                                      17                     issue before the Court, therefore, is whether Reziniano qualifies as unavailable.
                                                      18                            Under the Sixth Amendment, it is well-established that “a witness is not ‘unavailable’
                                                      19                     for purposes of [this] exception to the confrontation requirement unless the prosecutorial
                                                      20                     authorities have made a good-faith effort to obtain his presence at trial.” Barber v. Page, 390
                                                      21                     U.S. 719, 724-725 (1968); see also Roberts, 448 U.S. at 74. While the “law does not require
                                                      22                     the doing of a futile act, ... [t]he lengths to which the prosecution must go to produce a
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                                                                                     The Government also contends that Reziniano is unavailable under Rule 804(a)(4),
                                                                             which allows for a court to make a finding of unavailability if the declarant “is unable to be
                                                      25                     present or to testify at the hearing because of death or then existing physical or mental illness
                                                                             or infirmity.” As the Court concluded in open court at the pre-trial conference, the United States
                                                      26                     provides no admissible evidence to support a finding that Reziniano is unavailable to testify as
                                                                             a result of medical necessity. Accordingly, the Court finds that Reziniano is not unavailable
                                                      27                     under Rule 804(a)(4).
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                                                                                      The previous trial testimony, however, was not videotaped so that the trier of fact in the
                                                                             re-trial would be able to observe the witness’s demeanor.

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                                                                         1   witness ... is a question of reasonableness.” Roberts, 448 U.S. at 74 (quoting California v.
                                                                         2   Green, 399 U.S. 149, 189 n.22 (1970)); see also United States v. Olafson, 213 F.3d 435, 441
                                                                         3   (9th Cir. 2000); United States v. Wilson, 36 F. Supp. 2d 1177, 1180 (N.D. Cal. 1999) (“The
                                                                         4   central constitutional inquiry is whether or not the government’s actions were reasonable
                                                                         5   given all the circumstances of a particular case.”).
                                                                         6                                            DISCUSSION
                                                                         7          The United States argues that Olafson and United States v. Winn, 767 F.2d 527 (9th
                                                                         8   Cir. 1985), control here. Both of those cases involved illegal immigration prosecutions in
                                                                         9   which material witnesses were removed from the country and were not present to testify. In
                                                      10                     Winn, the Government only decided to prosecute the defendant after returning the two
                                                      11                     percipient witnesses, both Mexican citizens, to M exico. Winn, 767 F.2d at 530. Because the
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                                                      12                     Government “had no addresses or any other information that would help locate” the
                                                      13                     witnesses, the court determined that it was reasonable for the Government to make no effort
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                                                      14                     to find them. Id. The court held that the Government established unavailability and
                                                      15                     admitted the statements of the unavailable witnesses. Id.
                                                      16                            Olafson also involved two witnesses from Mexico who gave statements to the United
                                                      17                     States Border Patrol that they were Mexican citizens and had entered the United States
                                                      18                     illegally. 213 F.3d at 438. Before the defendant’s trial, however, the Border Patrol
                                                      19                     inadvertently returned the witnesses to Mexico. Id. In Olafson, unlike Winn, the
                                                      20                     Government knew of the whereabouts of one of the witnesses, and a Border Patrol agent
                                                      21                     attempted to convince him to return to the United States to testify. The court, relying on
                                                      22                     Winn, held that the district court did not abuse its discretion in finding the witnesses to be
                                                      23                     unavailable. Id. at 442.
                                                      24                            The dispositive issue here, however, is not whether the Government’s efforts to
                                                      25                     convince a since-deported witness to return to testify were reasonable;3 rather, the central
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                                                                                     Indeed, the Court finds that the Government’s attempt to convince Reziniano to
                                                                             return–including contacting him in Israel and urging him to honor his previously given word;
                                                      28                     arranging for him to be paroled back into the country; and offering to pay for his expenses
                                                                             associated with his trip–was a reasonable, good faith effort to compel his presence at trial “after

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                                                                         1   concern is whether the Government’s decision to permit Reziniano to be deported in the first
                                                                         2   place, while in the custody of the Government, was a “reasonable means” to “procure the
                                                                         3   declarant’s testimony.” Fed. R. Evid. 804(a)(5). Neither Winn nor Olafson considered or
                                                                         4   discussed this issue.4 See U.S. Suppl. Br. at 8 (“In [Winn and Olafson], the Ninth Circuit
                                                                         5   found that deported witnesses were ‘unavailable’ because the government had acted in good
                                                                         6   faith to obtain their presence, without making any inquiry into whether their deportation had
                                                                         7   been negligent.”) (emphasis added).
                                                                         8          Other courts, however, have made an inquiry into whether the Government’s role in a
                                                                         9   witness’s deportation affects the reasonableness inquiry into his unavailability. In United
                                                      10                     States v. Wilson, 36 F. Supp. 2d 1177 (N.D. Cal. 1999), Judge D. Lowell Jensen surveyed
                                                      11                     cases from the First, Fourth, Fifth, Eighth, and Tenth Circuits, and concluded that the
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                                                      12                     Government’s duty to make reasonable and good faith efforts existed before the witness left
                                                      13                     the United States. Wilson, 36 F. Supp. 2d at 1182. Judge Jensen wrote:
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                                                      14                            At a minimum these cases establish that an alien witness who has left the country,
                                                                                    either at the government’s instigation or through a failure to detain on the
                                                      15                            government’s part, should be found unavailable unless the government took
                                                                                    reasonable and good faith efforts before the witness left the United States to ensure
                                                      16                            that the witness would be available for trial.
                                                      17                     Id. The Court finds Judge Jensen’s reasoning persuasive, for once a witness has been
                                                      18                     deported, “[a]ny steps taken thereafter ... were inevitably too little too late.” Id.
                                                      19                            Moreover, the First Circuit has directly applied the reasonable means inquiry to the
                                                      20                     Government’s efforts to preserve the presence of a witness within its jurisdiction. In United
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                                                                             his release to Israel.” U.S. Suppl. Br. at 3.
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                                                                                     The Government argues that Olafson implicitly endorsed a finding of reasonableness
                                                      23                     even where the Government negligently deports a material witness. Olafson was decided without
                                                                             oral argument, and the Court has reviewed the parties’ briefs in the Ninth Circuit. There, the
                                                      24                     defendant did not dispute that the efforts of the government to procure the presence of the
                                                                             witness were unreasonable; rather, the defendant merely argued that “there was no showing
                                                      25                     made by the government ... regarding the procurement of his ‘testimony.’” Appellant’s Opening
                                                                             Brief at 15, United States v. Olafson, 213 F.3d 435 (9th Cir. 2000) (No. 99-50216). Olafson’s
                                                      26                     challenge centered around the district court’s decision not to permit further testimony via a Rule
                                                                             15(a) deposition. Accordingly, the Olafson court did not have the occasion or the inclination to
                                                      27                     address whether the Government’s inadvertent deportation was reasonable. The Court therefore
                                                                             finds that Olafson stands for the proposition that efforts made following a witness’s deportation
                                                      28                     are reasonable if an affirmative, good faith attempt is made to convince the witness to return to
                                                                             the United States to testify, but does not address the decision to deport such a witness.

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                                                                         1   States v. Mann, 590 F.3d 361 (1st Cir. 1978), the court held that the “reasonable means”
                                                                         2   inquiry is not limited to the narrow time frame before trial and after the witness has left the
                                                                         3   country. 590 F.3d at 368. Indeed, “[i]mplicit ... in the duty to use reasonable means to
                                                                         4   procure the presence of an absent witness is the duty to use reasonable means to prevent a
                                                                         5   witness from becoming absent.” Id. (emphasis added); accord United States v. Eufracio-
                                                                         6   Torres, 890 F.2d 266, 270 (10th Cir. 1989) (“The law does not require the government to
                                                                         7   utilize an absolute means of attempting to assure the appearance of a witness, only a
                                                                         8   reasonable means.”). The importance of the Government’s vigilance in preserving a
                                                                         9   witness’s availability is underscored by the vital Sixth Amendment confrontation rights
                                                      10                     implicated. Where the Government had reasonable means to ensure the presence of a key
                                                      11                     witness, “[t]he defendant should not suffer the injury from the government’s choice” not to
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                                                      12                     do so. Mann, 590 F.2d at 368 (finding that the government failed to demonstrate the
                                                      13                     unavailability of the witness “[o]n this independent basis”).
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                                                      14                            Accordingly, in the absence of Ninth Circuit precedent directly addressing the
                                                      15                     Government’s duty to ensure the presence of a witness in its control prior to trial, and with
                                                      16                     the benefit of persuasive and sound guidance from other courts, the Court finds that the
                                                      17                     “reasonable means” inquiry applies to the Government’s affirmative decision to permit
                                                      18                     Reziniano to be deported. Therefore, Reziniano is unavailable to testify only if the United
                                                      19                     States’ efforts to ensure his presence at trial prior to his deportation were reasonable.
                                                      20                            Notably, defendant does not contend, and the Court does not find, that the
                                                      21                     Government was motivated in any way by bad faith in permitting Reziniano to be deported to
                                                      22                     Israel. Nor does the Court believe the Government engaged in deliberate misconduct by
                                                      23                     removing the material witness warrant and allowing Reziniano to return to Israel. But a
                                                      24                     determination that the Government acted in good faith, while necessary to a finding of
                                                      25                     reasonable, does not end the reasonableness inquiry. A defendant’s invaluable Confrontation
                                                      26                     Clause right necessitates a careful inquiry into whether the Government’s decision to permit
                                                      27                     a material witness to be deported was reasonable, of which good faith is but one component.
                                                      28                     The decision to place a material witness in custody to ensure his presence at trial is a difficult


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                                                                         1   one and no doubt contemplates a number of competing factors. This is of particular concern
                                                                         2   where, as here, the Government previously held Reziniano in prison solely as a material
                                                                         3   witness. For the reasons set forth below, the Court finds that the Government’s decision to
                                                                         4   allow Reziniano to be deported was not reasonable.
                                                                         5           As an explanation for its change of mind, the Government contends that Reziniano
                                                                         6   was no longer a risk of flight after the first trial because: (1) he (and his attorney) made oral
                                                                         7   assurances that he would return; (2) he had cooperated with the Government in the lead-up to
                                                                         8   the trial, (3) he had medical problems; (4) the Government was concerned about his Fifth
                                                                         9   Amendment due process rights; and (5) the Government agreed to pay his expenses to return
                                                      10                     to testify.
                                                      11                             First, Reziniano himself is a convicted felon who was being deported as a result of his
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                                                      12                     felony. He testified at the first trial to using a number of aliases to conduct criminal activity
                                                      13                     and evade detection. At the very least, Reziniano is not a trustworthy individual. The
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                                                      14                     Government acknowledged as much when it held him in federal custody on a material
                                                      15                     witness warrant for nearly five months prior to the first trial. An oral promise from such an
                                                      16                     individual, without more, is therefore not a valid reason to determine that he no longer poses
                                                      17                     a risk of flight.
                                                      18                             Second, the Government apparently fails to recognize the likelihood that Reziniano
                                                      19                     cooperated with the Government because he remained in its custody for that sole purpose.
                                                      20                     That much was made clear when he testified on the witness stand at the first trial that he did
                                                      21                     not want to be there. Further, the Government’s briefing appears to recognize this fact. See
                                                      22                     Mot. at 2 (noting that Reziniano made clear that he wished to return to Israel after completing
                                                      23                     his sentence). Any cooperation from Reziniano, therefore, was at the very least coerced in
                                                      24                     some fashion by the fact that he remained in federal custody. His cooperation, which was a
                                                      25                     condition of his plea agreement, could have been compelled by contempt proceedings had he
                                                      26                     become recalcitrant. Accordingly, such involuntary cooperation was insufficient to indicate
                                                      27                     to the Government that he would return to testify once he was deported to Israel.
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                                                                         1          Third, the United States is correct to be concerned about Reziniano’s due process
                                                                         2   rights by keeping him in custody after his sentence was completed. See Aguilar-Ayala v.
                                                                         3   Ruiz, 973 F.2d 411, 419 (5th Cir. 1992) (noting that “undocumented aliens have an
                                                                         4   overriding liberty interest in not being detained as material witnesses, when the deposition
                                                                         5   procedure serves as an adequate alternative to prolonged detention”); Eufracio-Torres, 890
                                                                         6   F.2d at 270 (“The competing interests to be weighed against those of [the Sixth Amendment
                                                                         7   rights] of the accused are the witnesses’ procedural due process rights.”). Yet all material
                                                                         8   witness warrants that require an “innocent” person to remain in custody implicate due
                                                                         9   process concerns. This is not a case, like in Eufracio-Torres, where the accused is free on
                                                      10                     bail while the material witnesses, who were not charged with a crime, remain in custody.
                                                      11                     Eufracio-Torres, 890 F.2d at 270. Here, defendant is charged with a very serious crime, has
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                                                      12                     been in custody for more than one year, and faces the possibility of a significant sentence if
                                                      13                     convicted.
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                                                      14                            Moreover, the Government initially weighed the due process concerns against the risk
                                                      15                     of flight and determined that his importance as a witness overcame any due process rights he
                                                      16                     may have possessed. Yet the Government has failed to explain why this calculus changed
                                                      17                     after the first trial when he already had been detained in federal custody for five months. In
                                                      18                     addition, the Government acknowledged at the pretrial conference that it made the decision
                                                      19                     to retry defendant immediately, and it therefore knew that a re-trial date would be imminent,
                                                      20                     or at least within its control. Notably, this was not a situation where Reziniano’s detention
                                                      21                     would be of a “prolonged” nature, particularly when considered in light of the fact that he
                                                      22                     had already spent a significant amount of time in custody.
                                                      23                            Fifth, the Government had at its disposal a number of alternatives to ensure
                                                      24                     Reziniano’s presence at the re-trial while reducing or eliminating his confinement in federal
                                                      25                     prison. See Mann, 590 F.3d at 366 (“Sufficient relief could have been offered the witness by
                                                      26                     placing her in lesser custody, or perhaps by simply supplying maintenance, and retaining her
                                                      27                     passport and ticket.”); see also Wilson, 36 F. Supp. 2d at 1182 (“Good faith and reasonable
                                                      28                     efforts require at least some affirmative action, such as issuing a subpoena, arranging


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                                                                         1   payment of travel expenses, or taking affirmative steps to ensure the alien remains in the
                                                                         2   United States until trial is complete.”). The Government contends that its offer to pay
                                                                         3   Reziniano’s expenses to return to San Francisco for the re-trial satisfies this requirement to
                                                                         4   take affirmative steps to secure the witness’s presence at trial. See Eufracio-Torres, 890 F.2d
                                                                         5   at 270 (noting that witnesses who were given a trial subpoena, instructed how to return and
                                                                         6   how to obtain funds so that they could return, and who promised to return but didn’t were
                                                                         7   unavailable).5 The Court, however, is not convinced. Undoubtedly, providing travel
                                                                         8   expenses is a necessary condition to ensure that a foreign witness returns for trial; after all,
                                                                         9   one cannot imagine that any witness would pay his own way to testify at a trial. Yet such an
                                                      10                     offer alone is not a sufficient condition. A witness who poses a risk of flight, who has spent
                                                      11                     nearly five years in prison serving his sentence for a felony conviction, who has stated that he
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                                                      12                     did not wish to testify in the first trial, and who has expressed his desire to return to his
                                                      13                     native county, is unlikely to be swayed to return to the United States by the Government’s
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                                                      14                     offer to pay his expenses. Such an offer demonstrates the good faith nature with which the
                                                      15                     Government handled this matter, but it does not demonstrate the Government’s
                                                      16                     reasonableness. While an offer to pay the expenses of a witness may be one factor among
                                                      17                     several that illustrates the Government’s reasonable efforts to ensure a witness’s presence, it
                                                      18                     is not sufficient standing alone. And as noted above, this offer was effectively the
                                                      19                     Government’s only legitimate effort to ensure that Reziniano would be present at defendant’s
                                                      20                     re-trial.
                                                      21                             In light of all of the above considerations, the Government could have approached
                                                      22                     defense counsel or the Court to seek guidance as to an appropriate way to handle a delicate
                                                      23                     situation. For example, the Court may have been able to arrange a video deposition of
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                                                                                    The court in Eufracio-Torres appears to emphasize that the value of the witnesses’
                                                      28                     personal testimony in Spanish was not appreciably greater than the value of their deposition
                                                                             testimony. Eufracio-Torres, 890 F.2d at 270. That is not the case here.

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                                                                         1   Reziniano while he was in custody in order to expedite his return to Israel. 6 Instead, the
                                                                         2   Government did not notify the Court or defense counsel when it permitted Reziniano to be
                                                                         3   deported based primarily on his oral assurance that he would return. Given the fact that
                                                                         4   Reziniano had already spent five months in federal custody on a material witness warrant, the
                                                                         5   obvious implication of this decision is that the Government was more willing to allow
                                                                         6   Reziniano to leave the country once it had his trial testimony. See Mann, 590 F.2d at 367
                                                                         7   (“The government did not make as vigorous an attempt to secure the presence of the witness
                                                                         8   as it would have made if it did not have the prior recorded testimony.”). Where, as here, the
                                                                         9   testimony plays a significant role in the Government’s case, the standard of reasonableness is
                                                      10                     further heightened because the accused’s Confrontation Clause rights are strengthened. See
                                                      11                     Mann, 590 F.2d 367 n.6 (“A lesser effort might be reasonable where the testimony goes to
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                                                      12                     minor, collateral, or uncontested matters.”). Under these particular circumstances, the
                                                      13                     Government’s efforts to ensure Reziniano’s presence at the re-trial were insufficient and
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                                                      14                     unreasonable.
                                                      15                                                                             CONCLUSION
                                                      16                               For the foregoing reasons, the Court finds that Reziniano is not unavailable to testify.
                                                      17                     The Government’s decision to permit Reziniano to return to Israel merely based on an oral
                                                      18                     promise to return was unreasonable. Accordingly, the Government’s motion to admit his
                                                      19                     former testimony is hereby DENIED.
                                                      20                               IT IS SO ORDERED.
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                                                      23                     Dated: July 13, 2006                                               CHARLES R. BREYER
                                                                                                                                                UNITED STATES DISTRICT JUDGE
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                                                                                      Notably, the Government does not wish to conduct a Rule 15(a) videotaped deposition
                                                                             in Israel of Reziniano because it claims such testimony would be redundant given his former
                                                      27                     testimony at trial. While indeed the testimony may be redundant, it goes without saying that a
                                                                             jury’s ability to measure a witness’s credibility, which directly implicates the Confrontation
                                                      28                     Clause rights of the accused, is significantly enhanced if the jury can actually see the witness
                                                                             testifying, as opposed to merely listening to testimony read cold by a neutral individual.

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                               For the Northern District of California




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